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11   IRICO DISPLAY DEVICES CO., LTD.

12
                                UNITED STATES DISTRICT COURT
13
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
                                    SAN FRANCISCO DIVISION
15

16    IN RE: CATHODE RAY TUBE (CRT)               )   Case No. 3:07-cv-05944-JST
      ANTITRUST LITIGATION,                       )
17                                                )   MDL No.: 1917
                                                  )
18    THIS DOCUMENT RELATES TO:                   )   IRICO DISPLAY DEVICES CO.,
                                                  )   LTD.’S AMENDED MOTION TO
19    ALL INDIRECT PURCHASER ACTIONS              )   DISMISS CLAIMS OF INDIRECT
                                                  )   PURCHASER PLAINTIFFS FOR
20                                                )   LACK OF SUBJECT MATTER
                                                  )   JURISDICTION
21                                                )   (FED. R. CIV. P. 12(b)(1))
                                                  )
22                                                )   Date:        May 30, 2019
                                                  )   Time:        2:00 p.m.
23                                                )
                                                  )   Judge:       Honorable Jon S. Tigar
24                                                )   Courtroom:   9

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      IPPS FOR LACK OF JURISDICTION                                                 MDL NO. 1917
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1                                 NOTICE OF MOTION AND MOTION

2
     TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
3
             PLEASE TAKE NOTICE that on May 30, 2019, at 2:00 p.m., or as soon thereafter as the
4
     matter may be heard, before the Honorable Jon S. Tigar, United States District Judge of the
5
     Northern District of California, San Francisco Courthouse, located at Courtroom 9, 19th Floor,
6
     450 Golden Gate Avenue, San Francisco, California, Irico Display Devices Co., Ltd. (“Irico
7
     Display” or “Display,” together with Irico Group Corporation, “Irico” or “Irico Defendants”), by
8
     and through its undersigned counsel, will and hereby does move, pursuant to Federal Rules of
9
     Civil Procedure 12(b)(1) and (2) for an Order dismissing all claims in the Indirect Purchaser
10
     Plaintiffs’ (“IPPs”) Fourth Consolidated Amended Complaint (Dkt. 1526) against Irico Display
11
     for lack of subject matter jurisdiction.
12
             This Amended Motion is based on this Notice of Motion, the following Memorandum of
13
     Points and Authorities in support thereof, the Amended Declaration of Zhaojie Wang (“Wang
14
     Decl.”), the Declaration of Donald Clarke (“Clarke Decl.”) (ECF No. 5392-3), the Amended
15
     Declaration of Stuart Plunkett (“Amended Plunkett Decl.”), any materials attached thereto or
16
     otherwise found in the record, along with the argument of counsel, and such other matters as the
17
     Court may consider.
18
                                         ISSUES TO BE DECIDED
19

20           1.      Whether the Court lacks subject matter jurisdiction over Irico Display pursuant to

21   the Foreign Sovereign Immunities Act, 28 U.S. §§ 1602 et seq.

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1    I.      INTRODUCTION
2            The Court lacks subject matter jurisdiction over Irico Display under the Foreign

3    Sovereign Immunities Act (“FSIA”), 28 U.S. §§ 1602 et seq. The contemporaneous documentary

4    evidence, sworn declarations of employees with direct personal knowledge, and expert

5    declaration of a highly qualified Chinese legal expert establish that Irico Display, at all relevant

6    times, was an agency or instrumentality of the State Council of the People’s Republic of China.

7    Irico Display is thus presumptively entitled to sovereign immunity. Display was created by

8    wholly state-owned governmental entities to contribute to the development of China’s national

9    economy and was tightly controlled by the Chinese government. (Amended Wang Decl. ¶¶ 40-

10   42, 46-47.) The Chinese government and courts have deemed Display’s top management to be

11   state officials by virtue of their positions at Display, and as a state-controlled enterprise, Display

12   had obligations to the people of China. (Amended Wang Decl. ¶¶ 64-65.)

13           At the time the Indirect Purchaser Plaintiffs (“IPPs”) filed their original complaint in

14   2007, Irico Display was a state-controlled company. (Amended Wang Decl. ¶ 45.) Irico Display

15   was created through a collaboration of four wholly state-owned entities. (Amended Wang Decl.

16   ¶¶ 40-42.) These state-owned collaborators created Irico Display with the express intent to

17   “protect and increase the value of [Display’s] state-owned assets.” (Amended Plunkett Decl.,

18   Ex. 44 at -854.) All of Display’s initial funding at formation, funds required for capital projects,

19   and periodic monetary infusions came from the Chinese government through the State-owned

20   Assets Supervision and Administration Commission (“SASAC”), the Ministry of Finance, and

21   through wholly state-owned Irico Group Corporation (“Irico Group”). (Amended Wang Decl. ¶

22   59.)

23           Display was tightly controlled and supervised by SASAC, Irico Group, and other

24   departments of the State Council, and local Shaanxi Province government authorities. (Amended

25   Wang Decl. ¶¶ 46-47, 56.) Irico Display was also monitored on a day-to-day basis by a Chinese

26   Communist Party cell embedded inside Display’s facilities to monitor and supervise all

27   operations and employees. (See Amended Wang Decl. ¶¶ 37-38.) The control and supervision

28   exercised by governmental entities included, inter alia, the authority to: (i) “appoint

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1    representatives” to Display shareholder meetings to exercise authority as the controlling

2    shareholder; (ii) “supervise and administer” the financial situation of Display in order to

3    safeguard the state’s interest in its “State-owned assets;” (iii) nominate and remove top

4    management of Display, including the “general manager, deputy general manager, [and] chief

5    accountant;” (iv) approve requests for production changes, including new assembly lines and

6    equipment; (v) approve Display’s annual operating, budget, and investment plans; and (vi) when

7    Display was in danger of bankruptcy in 2004, SASAC and the Chinese Ministry of Finance

8    intervened to supply funds and approve a restructuring plan for the purpose of preventing damage

9    to the Chinese national economy and harm to Chinese workers. (Amended Wang Decl. ¶¶ 29-

10   30, 45-47, 52-55.) Governmental control and supervision thus effected virtually every aspect of

11   Irico Display’s top managerial decisions and much of the day-to-day operation of the enterprise.

12           No exception to Irico Display’s presumed immunity applies. IPPs cannot satisfy their

13   burden to establish that Display’s alleged conduct satisfies the “commercial activity” exception

14   to the FSIA’s jurisdictional bar. Irico Display made no sales of CRTs to the United States during

15   the Class Period and no direct effect can be attributed to Irico Display under the commercial

16   activity exception. The law precludes plaintiffs from relying on generalized allegations of a

17   CRT conspiracy, with actions allegedly undertaken by unrelated actors in the United States, to

18   satisfy its burden to demonstrate that sales or other conduct specifically attributable to Display

19   had the requisite direct effect on the United States. Consequently, Irico Display is entitled to

20   sovereign immunity under the FSIA and IPPs’ claims should be dismissed with prejudice.

21   II.     BACKGROUND

22           A.     Procedural Background and Claims Against Irico
23           The background of the case is known to the Court and is summarized briefly in the motion

24   to dismiss by Irico Group. (See Irico Group Mot. at 2-3.) The creation, status, obligations,

25   privileges, support, management, and supervision of Irico Group by the Chinese government are

26   also detailed in that motion. (See id. at 3-8.)

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1            B.      Irico Display

2            Irico Display is a Chinese company with its principal place of business at 1 Caihong Rd.,

3    Xianyang City, Shaanxi Province, 712021, People’s Republic of China. (Amended Wang Decl.

4    ¶ 39; Dkt. 346, ¶ 38.) At the time of filing of the IPP complaint, the share capital of Display was

5    owned 41.36% by Irico Group Electronics Co., Ltd. (“Electronics”), 1 which was in turn 75%

6    owned by Irico Group, a wholly state-owned entity that controlled both Display and Electronics.

7    (Amended Wang Decl. ¶ 44; Amended Plunkett Decl., Ex. 2 at -240.) Irico Display was

8    registered as and classified by SASAC as a “state-controlled company” in 2007. 2 (Amended

9    Wang Decl. ¶ 45; Amended Plunkett Decl., Ex. 32 at -670-71 (Irico Display consolidated

10   financial statements, on file with SASAC, listing the “Economic type” of Display as “State-

11   owned or State-controlled”).) As a state-controlled company, Irico Display was subject to

12   extensive supervision and control by the government, authorized by decree of the State Council

13   and implemented by SASAC, other ministries of the State Council, and the State Council’s

14   wholly-owned instrumentality, Irico Group. (Amended Wang Decl. ¶¶ 46-58.) All significant

15   operating, financial, and personnel decisions were either made directly by or subject to approval

16
     1
       All other shareholders of Irico Display each held less than 2 percent of the company’s equity. Several
17   of these minority shareholders were also Chinese state-owned corporations, increasing the proportion of
     Display’s total state-owned equity. (See Amended Plunkett Decl., Ex. 20 at -599 (“State-owned equity
18
     structure table of IRICO Display” showing eight investors in addition to Irico Electronics holding
19   “State-owned legal person shares”).)
     2
       “State-controlled company” is the same Chinese legal term of art (guoyou konggu qiye) translated as
20   “state-owned holding company” in Irico’s motion to set aside the default. (See Dkt. 5215 at 8.)
     However, “state-owned holding company” was used previously because it appears in the English-
21   language version of the regulations. Decree of the State Council of the People’s Republic of China No.
     378, Art. 2 (May 27, 2003) (“SASAC Regs.”), available at
22   http://en.sasac.gov.cn/2003/11/24/c_118.htm. While the phrase “konggu qiye” can mean “holding
     company” in some contexts, “state-controlled company” is the translation that applies to entities less
23
     than wholly-owned by the government but still subject to actual government control. (Amended
24   Plunkett Decl., Ex. 11 at -571 (opinion letter from Chinese State Bureau of Statistics defining “state-
     controlled company” to include “an enterprise for which, even though the percentage of State capital
25   (equity) is not greater than 50%, it is relatively higher than other economic elements in the enterprise”);
     Clarke Decl., ¶¶ 24 & n. 22, 28.) Irico Display’s 2007 audit filings approved by SASAC identify it as a
26   state-controlled company (Amended Plunkett Decl., Ex. 32 at -670-71), and SASAC regulations use the
     same term to define its control and supervision over such companies, including Display. See generally
27   SASAC Regs. (specifying different degrees of direct control over “wholly State-owned companies,”
     “State-owned holding companies [guoyou konggu qiye],” and “companies with State-owned equity”);
28   (Amended Wang Decl. ¶ 46-47.)

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1    by these Chinese government entities. (Id.) Irico Display also received substantial financial

2    support from these same government bodies, from its initial funding at creation by wholly state-

3    owned entities to loan guarantees and government funding appropriations granted through and

4    beyond 2007. (Amended Wang Decl. ¶¶ 59-61.) Both the control exercised over Display and

5    the government support provided to Display were by virtue of its status as a state-controlled

6    company and did not apply to private Chinese corporations.

7    III.    ARGUMENT

8            A.      The Court Lacks Subject Matter Jurisdiction Because Irico Display is
                     Immune from Suit in the United States as an Organ of the People’s Republic
9                    of China

10           The FSIA insulates foreign governmental organs and instrumentalities, like Irico Display,

11   from the exercise of jurisdiction in the United States. See 28 U.S.C. § 1604. The FSIA is “a

12   comprehensive statute containing a set of legal standards governing claims of immunity in every

13   civil action against a foreign state or its political subdivisions, agencies, or instrumentalities” and

14   “is the exclusive source of subject matter jurisdiction over all suits involving foreign states and

15   their instrumentalities.” Rep. of Austria v. Altmann, 541 U.S. 677, 691 (2004) (internal quotation

16   marks omitted); Compania Mexicana de Aviacion, S.A. v. U.S. Dist. Ct. for the C.D. Cal., 859

17   F.2d 1354, 1358 (9th Cir. 1988). Under the FSIA, the definition of a “foreign state” includes any

18   “agency or instrumentality of a foreign state,” to wit, any entity:

19                   (1) which is a separate legal person, corporate or otherwise, and
20                   (2) which is an organ of a foreign state or political subdivision thereof, or a
                     majority of whose shares or other ownership interest is owned by a foreign state
21                   or political subdivision thereof, and
22                   (3) which is neither a citizen of a State of the United States as defined in section
                     1332(c) and (e) of this title, nor created under the laws of any third country.
23

24   28 U.S.C. § 1603(b); see also Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S.

25   428, 428-29, 434 (1989) (the FSIA is “the sole basis for obtaining jurisdiction over a foreign state

26   in United States courts” and “must be applied by district courts in every action against a foreign

27   sovereign”); Siderman de Blake v. Republic of Argentina, 965 F.2d 699, 706 (9th Cir. 1992) (“As

28   a threshold matter, therefore, a court adjudicating a claim against a foreign state must determine

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1    whether the FSIA provides subject matter jurisdiction over the claim.”); MOL, Inc. v. Peoples

2    Republic of Bangladesh, 736 F.2d 1326, 1328 (9th Cir. 1984) (“As section 1330(a) indicates,

3    sovereign immunity is not merely a defense under the FSIA. Its absence is a jurisdictional

4    requirement.”).

5            It is undisputed that Irico Display is a separate legal person under subsection 1603(b)(1)

6    of the FSIA and is a citizen of China for purposes of subsection (b)(3).

7            As evidenced below, Display also qualifies for immunity because it was “an organ of a

8    foreign state or political subdivision thereof” under section 1603(b)(2) at the time the original

9    suit was filed in November 2007. 28 U.S.C. § 1603(b)(2). “Consistent with Congress’s intent,”

10   the Ninth Circuit “defines ‘organ’ broadly, mindful that ‘agency or instrumentality of a foreign

11   state’ could assume a variety of forms, including a state trading corporation, a mining enterprise,

12   a transport organization such as a shipping line or airline, [or] a steel company . . . .” Cal. Dep’t

13   of Water Res. v. Powerex Corp., 533 F.3d 1087, 1098 (9th Cir. 2008) (internal quotations

14   omitted). Unlike the more rigid ownership requirement under the second prong of section

15   1603(b)(2), which “turn[s] on formal corporate ownership,” Dole Food Co. v. Patrickson, 538

16   U.S. 468, 474 (2003), courts in the Ninth Circuit “take a holistic view of the defendant” for the

17   determination of “organ” status. Alperin v. Vatican Bank, 360 F. App’x 847, 849 (9th Cir. 2009)

18   (internal quotations omitted); see also EIE Guam Corp. v. Long Term Credit Bank of Japan, Ltd.,

19   322 F.3d 635, 640 (9th Cir. 2003) (“entity may be an organ of a foreign state even if it has some

20   autonomy from the foreign government”); EOTT Energy Operating Ltd. P’ship v. Winterthur

21   Swiss Ins. Co., 257 F.3d 992, 997 (9th Cir. 2001) (even if entity’s shares are “not directly held

22   by Ireland, it is still possible for it to be an ‘organ’ of a foreign state”); Murphy v. Korea Asset

23   Mgmt. Corp., 421 F. Supp. 2d 627, 640-41 (S.D.N.Y. 2005) (determining status as “organ of a

24   foreign state” is “ad hoc” analysis since organs are “likely to share characteristics both with

25   governments . . . and non-governmental entities”).

26           The Ninth Circuit considers several factors to determine whether an entity is an “organ

27   of a foreign state” for purposes of the FSIA, including “the circumstances surrounding the

28   entity’s creation, the purposes of its activities, its independence from the government, the level

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1    of government financial support, its employment policies, and its obligations and privileges

2    under state law.” Powerex, 533 F.3d at 1098 (quoting EIE Guam, 322 F.3d at 640). The “organ”

3    determination may also “be based exclusively on foreign law.” Id.

4                   1.      Irico Display Was Created Pursuant to State-Directed Initiatives,
                            Demonstrating its Status as an Organ of China
5

6            Irico Display was established in 1992 by wholly state-owned entities: Irico Group,

7    Shaanxi Electronics Industry Company, Shaanxi ICBC Trust and Investment Corporation, and

8    Shaanxi PCBC Trust and Investment Corporation. (Amended Wang Decl. ¶ 40; Amended

9    Plunkett Decl., Ex. 44 at -853 (“Official response” by Shaanxi Provincial Commission on the

10   Restructuring of the Economic System, approving the formation of Display and listing its

11   founding shareholders).) As a collaboration founded and held by four wholly state-owned

12   entities and created with the approval of the Shaanxi Provincial Economic System Reform

13   Committee, Display was set up and operated as a wholly state-owned enterprise of the Chinese

14   government.     (Amended Wang Decl. ¶ 41.)            Irico Display was created pursuant to “the

15   requirements of nine commissions, offices and ministries such as the Provincial Economic

16   Commission” as part of a government “joint stock system reform pilot . . . for nationalized

17   enterprises . . . to realize new mechanisms to create new enterprises and construct new product

18   lines,” and enjoyed special government “policies” benefiting such enterprises.             (Amended

19   Plunkett Decl. Ex. 44 at -853-54; see also id., Ex. 40 at -744-45 (letter between Chinese

20   government agencies, describing Display as “one of the first batch of Shaanxi Province

21   shareholding system test units and . . . one of the national modern enterprise system 100 test

22   units,” and “the only enterprise to be recommended by this ministry for listing in 1995,” with the

23   government directly purchasing listed shares to “maintain social stability”).)

24           The Chinese Government tasked Display with the development, production, and sales of

25   color picture displays, parts, and raw materials (Amended Wang Decl. ¶ 43; Amended Plunkett

26   Decl., Ex. 31 at -668), and Display was instructed to “protect and increase the value of [its] state-

27   owned assets” under the “industrial supervision work carried out by the provincial office of the

28   electronics industry.” (Amended Plunkett Decl., Ex. 44 at -854.) Irico Display’s initial public

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1    offering in 1995 was designed to “widely attract idle funds from society, and contribute to the

2    development of [China’s] electronic products such as color displays,” (Amended Plunkett Decl.

3    Ex. 31 at -668), thus “increasing the controlling power of state-owned assets through leveraging”

4    of funds from passive investors. (Amended Wang Decl. ¶ 42.)

5             Display’s creation, therefore, clearly supports a finding of “organ” status under the FSIA.

6    The evidence establishes a high degree of control and involvement by various government actors

7    at both the Chinese national and provincial government levels in sponsoring Display’s formation

8    as a model for centrally-directed state-owned enterprise shareholding reform and establishing

9    control over its high-level management and day-to-day business operations. See Gates v. Victor

10   Fine Foods, 54 F.3d 1457, 1460 (9th Cir. 1995) (holding an association of private hog producers

11   to be an organ of the Province of Alberta, where association was created by approval of

12   producers’ application by a government marketing council).

13                   2.      The State Council Tightly Controlled and Supervised Irico Display
                             through SASAC, Irico Group, and Other Government Ministries
14

15            Display was subject to both direct and indirect supervision by SASAC as authorized by

16   Interim Regulations on Supervision and Management of State-owned Assets of Enterprises,

17   adopted by the State Council in 2003 and in effect in late 2007. See SASAC Regs., Art. 2 (“These

18   regulations are applicable to the supervision and management of . . . State-owned holding

19   enterprises [i.e., state-controlled companies]”); (Amended Wang Decl. ¶ 45). Under those

20   regulations, SASAC exercised authority to:

21       •    “appoint representatives” to Display shareholder meetings to exercise authority as the
              controlling shareholder, SASAC Regs., Art. 22;
22
         •    nominate the Chairman and other directors to Display’s board of directors, id. at Art.
23            17(3);
24       •    nominate the Chairman and other members of Display’s supervisory panel, id.;
25       •    nominate top management of Display, including the “general manager, deputy general
              manager, [and] chief accountant, id.;
26
         •    “guide and push forward” Display (and other companies under Irico Group) in “reform
27            and restructuring,” and other efforts to adjust corporate governance in accordance with
              State Council policy, id. at Art. 13(2);
28

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         •    “supervise and administer” the financial situation of Display in order to safeguard the
1             state’s interest in its “State-owned assets,” id. at Art. 13(5);
2        •    establish “guideline[s]” for executive and employee “remuneration” and “regulate and
              control . . . allocation of remuneration” between Display and other enterprises under its
3             supervision, id. at Art. 26; and
4        •    “evaluate the[] performance” of top Display directors and management it has appointed
              and “grant rewards or impose punishments” based on those evaluations, id. at Art. 13(4).
5
              Under these regulations, Display was required to “accept the supervision and
6
     administration conducted by” SASAC. Id. at Art. 11. Display was also subject to special
7
     “guidance and coordination” from SASAC in “overcoming difficulties and solving problems in
8
     the process of their reform and development.” Id. at Art. 14(6). SASAC exercised its authority
9
     over Irico Display under these provisions through the SASAC-appointed management of its
10
     wholly-owned instrumentality, Irico Group. (Amended Wang Decl. ¶ 46.)
11
              Major production changes by Display, such as new assembly lines and equipment,
12
     required direct approval by Irico Group, which in turn required approval from SASAC.
13
     (Amended Wang Decl. ¶¶ 33, 55; see, e.g., Amended Plunkett Decl. Ex. 36 at -712 (report on
14
     Irico Group “Investment Plan for 2007,” including investments implemented through various
15
     subsidiaries, submitted to SASAC for approval). Specifically, Irico Display’s annual operating
16
     plan, budget, and investment plan were compiled with other subsidiaries of Irico Group and
17
     submitted for approval by SASAC and the Ministry of Finance. (Amended Wang Decl. ¶¶ 27,
18
     33.) Any corporate reforms, restructuring, establishing new subsidiaries, mergers, issuance of
19
     new shares, or establishment of joint ventures by Irico Display required the approval of SASAC.
20
     (Amended Wang Decl. ¶ 29.) As one example, Irico Display was in danger of bankruptcy in
21
     2004 due to a precipitous drop in CRT sales. To prevent damage to the Chinese national economy
22
     and unemployment of numerous Display workers, SASAC intervened and approved a plan of
23
     reorganization (submitted by Irico Group) to restructure and streamline Irico Display’s
24
     operations, with supporting funds supplied by the Ministry of Finance, leaving Display as the
25
     only CRT manufacturer in China to avoid bankruptcy. (Amended Wang Decl. ¶ 30.)
26
              Irico Display was always subject to the direct control of wholly state-owned Group, and
27
     thus control by the Chinese government, in all its business activities, financial policies, and
28

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1    appointment of management. (Amended Wang Decl. ¶¶ 47-55, 57-58.) This control was formal

2    and official: Group was listed as the “actual controller” of Display in 2007 pursuant to the 2006

3    Chinese Company Law, which defines the term as “a person who is able practically to govern

4    the behavior of a company through investment relations, agreements or other arrangements,

5    although the person is not a shareholder of the company.” Company Law of the People’s

6    Republic of China, Art. 217(3); 3 (Amended Wang Decl. ¶ 48; Amended Plunkett Decl., Ex. 2 at

7    -239 (listing Group as “actual controlling” person/shareholder”) 4; Clarke Decl. ¶ 32. 5) Group’s

8    direct control over Display closely mirrored the control that SASAC held over wholly state-

9    owned companies like Group. Irico Display was required to submit regular financial, operational,

10   and investment reports to Group for approval, which Group was required to incorporate into its

11   own reports for approval by SASAC. (Amended Wang Decl. ¶¶ 27, 53, 62; Amended Wang

12   Decl. ¶ 11); see SASAC Regs. Art. 37, 39 (requiring such reports). Irico Group directly selected

13   the Board of Directors of Irico Display by nominating the slate through Irico Electronics and

14   appearing directly at Display’s shareholder meetings to approve the same slate it had nominated.

15   (Amended Wang Decl. ¶ 52; compare Amended Plunkett Decl. Ex. 33 at -678 (November 2007

16   Irico Group resolution regarding a slate of directors for Irico Display, and dismissing other

17   directors), with id., Ex. 2 at -241-42 (list of Irico Display directors, including all the individuals

18   recommended by Group with terms beginning November 2007 and none of the removed

19   individuals)); see SASAC Regs. Art. 17(2)-(3) (authorizing the nomination, appointment, and

20   removal of board candidates). Because shareholders were required to be present or designate a

21   proxy to vote at these meetings, there was no Display shareholder meeting at which Group did

22   not control a majority of voting shares. (Amended Wang Decl. ¶ 51.)

23

24
     3
25       Available at http://www.npc.gov.cn/englishnpc/Law/2007-12/13/content_1384124.htm).
     4
      As explained by Professor Clarke, “actual controlling shareholder” is a mistranslation; “actual
26   controlling person” (or “actual controller”) is a more accurate meaning given that Irico Group was not a
     direct shareholder. Clarke Decl. ¶ 32 n. 37.
27
     5
      Citations in the Clarke Declaration to “Plunkett Decl.” refer to identical exhibit numbers as those
28   attached to the Amended Plunkett Declaration filed in support of this motion.

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1            Irico Group also appointed and removed the management of Display, including the

2    General Manager (i.e., CEO), Deputy General Manager, Chief Financial Officer, and all

3    department heads, by directing recommendations to Irico Electronics, which were universally

4    and unquestioningly implemented by the Group-appointed Board of Directors of Irico Display.

5    (Amended Wang Decl. ¶ 50; Amended Wang Decl. ¶¶ 8-10; see Clarke Decl. ¶ 31; compare

6    Amended Plunkett Decl., Ex. 33 at -678 (November 2007 Irico Group resolution determining

7    candidates for Irico Display’s top management and removing others), with id., Ex. 2 at -241-42

8    (list of Irico Display “senior executives,” including all the individuals proposed by Group with

9    terms beginning November 2007 and none of the removed individuals); see SASAC Regs. Art.

10   17(1), (3) (authorizing nomination, appointment, and removal of management).

11           Irico Group’s control acted as a direct extension of the control SASAC exercised over

12   Group, as evidenced by annual “Letters of Responsibilities.” These letters were required of all

13   “responsible persons of enterprises controlled by Group,” including Display. (Amended Plunkett

14   Decl., Ex. 47 at -914 (example of annual “Letter of Responsibilities for Operational Tasks” laying

15   out obligations and performance requirements for Irico Display management); see Amended

16   Wang Decl. ¶ 53; Clarke Decl. ¶ 33.)           They established contractual performance and

17   compensation responsibilities of those Display managers to the management of Group, just as

18   SASAC required such letters of Irico Group’s top management. (Compare Amended Plunkett

19   Decl., Ex. 47 at -915 (specifying that Letter of Responsibilities is to “be executed in accordance

20   with the Measures for Assessment of the Operational Performance of the Responsible Persons of

21   IRICO Group Corporation” issued by SASAC), with id., Ex. 28 at -632 (2006 SASAC notice to

22   Irico Group evaluating “Operational Performance of Persons in Charge of IRICO Group

23   Corporation” in accordance with SASAC regulations)); see SASAC Regs. Art. 13(4), 18

24   (authorizing evaluation of “the performance of the responsible persons of enterprises” and the

25   signing of “performance contracts with the responsible persons of enterprises appointed by it”).

26           The extensive control exercised by SASAC through its appointed agents at wholly state-

27   owned Irico Group not only meets, but far exceeds the requirements necessary to establish

28   Display’s status as an “organ” of the Chinese government under the FSIA. Alperin, 360 F. App’x

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1    at 850 (holding that “day-to-day control” was unnecessary, and “arms-length supervision” by the

2    government was sufficient to support organ status); Gates, 54 F.3d at 1461. The fact that, at

3    times, government control was exercised indirectly through a wholly state-owned instrumentality

4    “hardly matters” in the analysis. Powerex, 533 F.3d at 1101 (“There is no reason to think

5    Congress cared for the manner in which foreign states interacted with their organs—i.e., whether

6    the foreign state supervises the organ directly, or through an incorporated agent.”). Moreover,

7    as Group was a wholly state-owned and wholly state-controlled enterprise, the Chinese

8    government, through SASAC and Group, controlled virtually all aspects of management and day-

9    to-day business operations at Display. (Amended Wang Decl. ¶ 47.)

10           In addition to SASAC, Irico Display was also supervised by the Chinese Ministry of

11   Finance, which reviewed and approved Display’s financial reports. These reports were fully

12   consolidated into Group’s financials for purposes of Group’s financial audit and determination

13   of its mandatory capital gains contribution to the state. (Amended Wang Decl. ¶ 62; Amended

14   Plunkett Decl., Ex. 24 at -618 (2007 SASAC letter regarding audit of Irico Group’s consolidated

15   2006 financial statements, combining results from “28 level-three or above subsidiaries,” which

16   included Display); id., Ex. 16 at -588 (SASAC notice directing Group to pay state-owned capital

17   gains of RMB2.98 million based on its consolidated financial statements); Clarke Decl. ¶ 29).

18           Shaanxi provincial authorities also supervised Display, including the Shaanxi Province

19   state-owned assets supervision authority. Display needed approval from the Shaanxi Province

20   state-owned asset supervision authorities for its initial public offering. (Amended Wang Decl. ¶

21   56; Amended Plunkett Decl., Ex. 14 at -584 (document from National Administration of State-

22   Owned Assets, a predecessor to SASAC, granting approval to begin the listing process and

23   mandating that an appraisal of Irico Display’s assets be sent for “review and confirmation”). All

24   of these government bodies likewise are subject to the control of the State Council. (Amended

25   Plunkett Decl. Ex. 51; see Clarke Decl. ¶¶ 14-15.)

26

27

28

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                    3.      Irico Display’s Purpose Was to Contribute to the Development of
1                           China’s National Economy and Increase the Value of State-Owned
                            Assets
2

3            As a part of China’s “socialist economy under ownership by the whole people,”

4    (Constitution of the People’s Republic of China (“PRC Const.”), Art. 7, available at

5    http://www.npc.gov.cn/englishnpc/Constitution/node_2825.htm), the role and purpose of Irico

6    Display and all other subsidiaries under Irico Group in 2007 was significantly different than that

7    of a privately held corporation. The Chinese socialist market economy contrasts sharply with the

8    economy of the United States in that large industrial segments deemed crucial to China’s overall

9    economic development and national security are owned and controlled by the state. (Clarke Decl.

10   ¶¶ 16, 18.) While the business activities and some isolated governance structures of these state-

11   owned enterprises may roughly resemble aspects of American private corporations, their purpose

12   is not to enrich shareholders, but to contribute to China’s national economy, increase the value

13   of their state-owned assets, and provide for the welfare of their workers. (Clarke Decl. ¶¶ 17-18;

14   Amended Wang Decl. ¶¶ 25, 63, 65); see PRC Const., Art. 19 and 21 (encouraging “State

15   enterprises” to “establish educational institutions of various types” and supporting “the setting

16   up of various medical and health facilities by . . . State enterprises . . . for the protection of the

17   people’s health”).

18           Irico Group was authorized by various government agencies, along with its fully state-

19   backed investment partners, to create Display in furtherance if its purpose to “contribute to the

20   development of [China’s] electronics products,” (Amended Plunkett Decl., Ex. 31 at -668), and

21   “protect and increase the value of State-owned assets,” (id., Ex. 44 at -854). The purposes of

22   Display and Group were closely linked as part of the same state-owned enterprise group. (See

23   Clarke Decl. ¶ 14 (noting formation of “group companies” to replace Chinese industrial

24   ministries).) As a state-controlled company under Chinese law in 2007, Irico Display was

25   required to “make efforts to increase economic efficiency and bear the responsibility of

26   preserving and increasing the value of State-owned assets operated and managed” by Display for

27   the benefit of the Chinese state. SASAC Regs., Art. 11.

28

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1            As part of its government-mandated efforts to “increase economic efficiency,” Display

2    sought to earn a profit for its sale of CRTs and other products, but this fact does not undermine

3    Display’s public purpose. The direct pursuit of economic advancement by the government is a

4    core principle and policy decision of the Chinese state and a valid public purpose recognized in

5    the caselaw. 6 See PRC Const. Art. 7 (“The State-owned economy . . . is the leading force in the

6    national economy.      The State ensures the consolidation and growth of the State-owned

7    economy.”); (Clarke Decl. ¶¶ 10-18). In this case, the Chinese government was the principal

8    beneficiary of Irico Display’s profits. Display’s results were consolidated into Irico Group’s

9    financial statements and formed the basis for Group’s mandatory state-owned capital dividends

10   to SASAC and the Chinese Ministry of Finance. (Amended Plunkett Decl., Ex. 16 at -588.) The

11   remainder of Display’s profits were either reinvested in its business operations to “increas[e] the

12   value of [Display’s] State-owned assets,” SASAC Regs., Art. 11, or distributed as dividends to

13   all shareholders, with the largest portion benefitting Irico Group, a wholly-owned instrumentality

14   of the People’s Republic of China. See Powerex, 533 F.3d at 1101 (citing, in support of organ

15   status, the fact that “Powerex’s earnings are consolidated with those of” its direct parent, a wholly

16   owned instrumentality of Canada, for purposes of rate-setting and net income paid to the

17   Canadian government). Display’s very purpose therefore was to increase the value of state-

18   owned assets, contribute to the development of the Chinese national economy and, thus, function

19   as an organ of the People’s Republic of China.

20

21   6
       The recognition of state-owned profit-making activity as a valid public purpose has a long history in
     the Supreme Court’s sovereign immunity jurisprudence. In one of its earliest sovereign immunity cases,
22   the Court held that “advancing the trade of its people or providing revenue for its treasury” through
     commercial activity conducted by the foreign state constituted a valid public purpose and was worthy of
23
     immunity. Berizzi Bros. Co. v. The Pesaro, 271 U.S. 562, 574 (1926) (“We know of no international
24   usage which regards the maintenance and advancement of the economic welfare of a people in time of
     peace of any less a public purpose than the maintenance or training of a naval force.”); see also Gates,
25   54 F.3d at 1461 (recognizing public purpose of “advanc[ing] the Province of Alberta’s interest in
     marketing Alberta hogs”). This principle has been codified in the FSIA through Congress’ explicit
26   recognition that presumptively immune foreign states and their instrumentalities engage in “commercial
     activity,” and only lose immunity when such activity has a sufficient nexus with the United States. See
27   28 U.S.C. § 1605(a)(2); Powerex, 533 F.3d at 1102 (“Powerex is the kind of government entity that
     Congress had in mind when it wrote the FSIA’s ‘commercial activity’ provisions.”) (internal quotations
28   omitted).

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                    4.      Irico Display’s Leaders Were Government-Appointed                          and
1                           Considered State Officials Under Chinese Law
2            Irico Display’s management—as employees of state-controlled companies—performed

3    official state duties under Chinese law and therefore held a status that was distinct from

4    management of non-state-owned enterprises.             These employees’ official status as public

5    functionaries further supports the finding of organ status of Display. See Alperin, 360 Fed. App’x

6    at 849 (finding entity to be an “organ of a foreign state” in part because its “highest administrative

7    level” was made up of “government officials all appointed by” the government); Corporacion

8    Mexicana de Servicios Maritimos, S.A. de C.V. v. M/T Respect, 89 F.3d 650, 655 (9th Cir. 1996)

9    (finding subsidiary of government-owned enterprise was “organ of [the] foreign state” where

10   subsidiary was controlled by government appointees); (Clarke Decl. ¶¶ 36, 46).

11           Specifically, Display’s management was subject to the Chinese government’s mandates

12   for the integrity of state officials, relevant government anti-corruption provisions, and

13   supervision by the state Commission for Discipline Inspection. (Amended Wang Decl. ¶ 64.)

14   These mandates did not apply to management or employees of non-state-controlled enterprises.

15   (Id.) SASAC regulations specify that Display’s directors, management, and other “responsible

16   persons” are subject to disciplinary sanction and are liable to compensate the State for any loss

17   of State-owned assets caused by abuse of power or neglect of duty. See SASAC Regs., Art. 40

18   and 41 (“Where the responsible person of a . . . State-holding enterprise abuses his power or

19   neglects his duty, thus causing the loss of State-owned assets of the enterprise, such person shall”

20   be liable to make restitution to the government and be subject to “disciplinary sanction,”

21   including possible “criminal liability”). SASAC promulgated additional regulations governing

22   the evaluation of the performance of “responsible persons” of state-owned enterprises in 2006,

23   which specified that the management of state-controlled companies like Display were subject to

24   performance evaluation by SASAC. (Amended Plunkett Decl., Ex. 52 at Art. 2(3) (specifying

25   that the “Chairmen of boards, vice chairmen of boards, directors and general managers . . . as

26   well as vice general managers . . . and chief accountants” who are “representatives of State-

27   owned stock rights of State-controlled enterprises” shall be subject to annual performance

28   assessment by SASAC).) Under these regulations, SASAC “conduct[ed] proactive supervision

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1    over the implementation of” letters of responsibility with each individual executive under their

2    control. (Id. at Art. 12.)

3            In addition, Article 93 of the Chinese Criminal Law dictates that “people engaged in

4    official duties in state-owned companies, enterprises, institutions, and people’s organizations,

5    and those who shall be assigned to non-state-owned companies, enterprises, institutions, and

6    social organizations from state-owned companies, enterprises, institutions, and other persons

7    who are engaged in official duties in accordance with the law, shall be treated as state

8    functionaries.”    Criminal Law of the People’s Republic of China, Art. 93, available at

9    http://www.npc.gov.cn/englishnpc/Law/2007-12/13/content_1384075.htm (emphasis added);

10   (Clarke Decl. ¶ 39). The Supreme People’s Court and the Supreme People’s Procuratorate of

11   China (the highest Chinese court and prosecuting authority, respectively) issued guidance on

12   “handling job-related criminal cases,” which clarifies that the management of state-controlled

13   companies such as Display, who serve “upon nomination, recommendation, appointment [or]

14   approval” of a state-owned company such as Group, are considered state functionaries under the

15   Chinese Criminal law. (Amended Plunkett Decl., Ex. 1 at -014, -018.)

16           This elevated standard imposed on managers of State-controlled companies applied to

17   Display’s management.        Two examples punctuate the application of these laws to the

18   management of Irico Group subsidiaries, which includes Display. (See Clarke Decl. ¶¶ 36, 46.)

19   First, three managers of Irico Group companies were tried as public officials—over the

20   managers’ arguments that they were not public officials—and convicted for accepting bribes in

21   the course of their public duties as employees of Irico Group subsidiaries. (See Amended

22   Plunkett Decl., Ex. 8 at -537, 10 at -556, 42 at -764; Clarke Decl. ¶¶ 37, 40-45.) Two of these

23   officials were managers of other subsidiaries of Irico Group, similarly situated to Display, while

24   one was a manager of a subsidiary of Display, two levels below Display in the corporate chain.

25   (See Clarke Decl. ¶¶ 40-45.) Due to their status as public officials, the defendants received harsh

26   sentences reserved solely for public officials. (See Clarke Decl. ¶ 36-37; see, e.g., Amended

27   Plunkett Decl., Ex. 10 at -570 (appeals court reversing initial court decision sentencing defendant

28

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1    to six years imprisonment for “accepting bribes as a non-State worker,” and instead imposing a

2    sentence of ten years for accepting bribes as a state official).)

3            Second, all management of Irico Display (and other Irico Group subsidiaries) were

4    required to be members of the Chinese Communist Party and were subject to the authority of

5    Central Committee for any ethical violations. (Amended Wang Decl. ¶ 37.) The Chinese

6    Communist Party had cells embedded in Irico Display’s facilities to monitor and supervise all

7    employees and operations. (See Amended Wang Decl. ¶¶ 37, 64); Trans Chem. Ltd. v. China

8    Nat’l Mach. Imp. & Exp. Co., 978 F. Supp. 266, 281 (S.D. Tex. 1997) (holding a Chinese state-

9    owned corporation to be an “agency or instrumentality” of China, where the “presence of a

10   Communist Party cell in each enterprise . . . allows for Party control over the enterprise.”).

11   Several top executives of Irico Display were punished by this Central Committee and stripped of

12   their Communist Party membership for corruption during performance of their official duties at

13   Display. (Amended Wang Decl. ¶ 38.) The effect of these Display employees’ expulsion from

14   the Communist Party was that they were forever barred from holding a management position at

15   any state-owned enterprise. (Id.) “The fact that enterprise managers can be ‘disciplined’ by a

16   government department necessarily implies that they are administratively part of that department

17   and subordinate to its leadership.” Trans Chem., 978 F. Supp. 266 at 281 (alterations omitted).

18                   5.      Irico Display Had Significant Public Obligations and Privileges Under
                             Chinese Law
19
             Irico Display’s obligations to submit to the authority of SASAC and other government
20
     agencies under the State Council are described in detail above. In return for these obligations,
21
     Display received significant support from Chinese government ministries and wholly state-
22
     owned instrumentalities, including all of its initial funding at the time of formation, and periodic
23
     government appropriations allocated by SASAC and the Ministry of Finance through Group for
24
     use by Display for capital projects. (Amended Wang Decl. ¶¶ 59-60.)
25
             Irico Display received an allocation of over RMB100 million in government funds in
26
     2007 for its thin-film-transistor liquid-crystal display glass substrate project. 7 (Amended Wang
27
     7
      Irico Group initiated the TFT-LCD glass substrate project in 2007 through a different subsidiary,
28
     Shaanxi Irico Electronic Glass Co., Ltd., (see Amended Plunkett Decl. Ex. 35 at -709), which was then
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1    Decl. ¶ 60.) As a state-controlled company, Display was entitled to “guidance and coordination”

2    from SASAC in “overcoming difficulties and solving problems in the process of their reform and

3    development.” SASAC Regs., Art. 14(6). Tied to the control exercised by Group, Display also

4    benefitted from the public services delegated to Group by the Chinese government, including a

5    school system, police department, hospital, and senior living center, which Irico Group was

6    required to set up around Display’s operations in Xianyang, Shaanxi Province, and benefitted

7    Display’s employees and their families, as well as the surrounding community. (Amended Wang

8    Decl. ¶¶ 25, 65.)

9            Irico Display thus qualifies as an “organ” of the State Council and, like Irico Group, is

10   presumptively immune from suit under the FSIA. (See Clarke Decl. ¶¶ 24, 31-35, 36, 46.) Like

11   other entities found to be “organs” by the Ninth Circuit, Irico Display was “restrained by

12   [government] regulations and directives applicable to government corporations,” restricted in its

13   “ability to enter [various] financial arrangements,” had its “financial operations” regularly

14   “reviewed by” the government, its “objectives” set by the government, and its board members

15   and management directly and “indirectly appoint[ed] and approv[ed]” by the government “to

16   ensure that [Display] carries out its public duties.” Powerex, 533 F.3d at 1101. Even if the Court

17   concludes that Display enjoyed “a limited degree of tactical independence,” as with the entity in

18   Powerex, “its purposes and strategies—indeed, its continued existence—are determined by” the

19   State Council through SASAC. Id.

20           B.      No Exceptions Apply That Would Deprive Irico Display of Sovereign
                     Immunity
21

22           IPPs bear the burden to demonstrate that the Court may properly invoke its subject matter

23   jurisdiction over Irico Display subject to one of the FSIA’s statutory exceptions. As with Irico

24   Group, no exceptions apply to Irico Display. See 28 U.S.C. § 1605. Saudi Arabia v. Nelson, 507

25   U.S. 349, 355 (1993) (“Under the Act, a foreign state is presumptively immune from the

26   jurisdiction of the United States courts; unless a specified exception applies, a federal court lacks

27
     placed under Irico Display’s majority ownership and control beginning in 2008, (see Clarke Decl. ¶¶ 44-
28   45.)

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1    subject-matter jurisdiction over a claim against a foreign state.”); Peterson v. Islamic Republic

2    of Iran, 627 F.3d 1117, 1125 (9th Cir. 2010) (“The structure of the FSIA—which codifies the

3    background rule that foreign states are immune from suit and execution, and then creates narrow

4    exceptions—suggest that courts must begin with the presumption that a foreign state is immune

5    and then the plaintiff must prove that an exception to immunity applies.”). In cases, as here,

6    “where a defendant . . . makes a factual attack on subject matter jurisdiction” and introduces

7    evidence showing immunity, “no presumptive truthfulness attaches to plaintiff’s allegations.”

8    Terenkian v. Republic of Iraq, 694 F.3d 1122, 1131 (9th Cir. 2012). “The plaintiff then has the

9    burden of going forward with the evidence by offering proof that one of the FSIA exceptions

10   applies.” Id.

11           Section 1605(a) of the FSIA provides exceptions to immunity only where a foreign state

12   or instrumentality (1) “waived its immunity,” (2) engaged in “commercial activity” upon which

13   the action is based with a sufficient nexus to the United States, (3) took property “in violation of

14   international law,” (4) contests rights to “immovable property” in the United States, (5)

15   committed certain noncommercial torts, or (6) is bound by an agreement to arbitrate. 28 U.S.C.

16   § 1605(a). Exceptions (3) through (6) have no conceivable application here, and this Court has

17   already found that actions by the Irico Defendants prior to their default did not waive immunity.

18   (Dkt. 5240 at 12-13).

19           IPPs are likely to assert that the “commercial activity” exception would preclude Irico

20   Display from invoking immunity under the FSIA. (Dkt. 5221 at 12-17). The commercial activity

21   exception “is given a very restrictive interpretation,” Sec. Pac. Nat’l Bank v. Derderian, 872 F.2d

22   281, 285 (9th Cir. 1989), and requires that the lawsuit be “based upon” specific commercial acts

23   by a particular “foreign state” defendant.       28 U.S.C. § 1605(a)(2).       A foreign state or

24   instrumentality loses its immunity under this exception only if:

25       (1) “the action is based upon a commercial activity carried on in the United States by the
             foreign state;”
26
         (2) “the action is based . . . upon an act performed in the United States in connection with a
27           commercial activity of the foreign state elsewhere;” or
28

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         (3) “the action is based . . . upon an act outside the territory of the United States in connection
1            with a commercial activity of the foreign state elsewhere and that act causes a direct effect
             in the United States.”
2

3    Id. The first and second prongs of the exception cannot apply to Irico Display because Display

4    carried on no “commercial activity” in the United States and performed no “acts” in the United

5    States, let alone one upon which this action is based. (Amended Wang Decl. ¶¶ 12-13.)

6            IPPs also cannot demonstrate that any of Irico Display’s alleged actions underlying their

7    claims had a “direct effect” in the United States as required to defeat immunity under the third

8    prong section 1605(a)(2). To constitute a “direct effect” under the FSIA, an effect must “follow[]

9    as an immediate consequence of the defendant’s activity.” Republic of Argentina v. Weltover,

10   Inc., 504 U.S. 607, 618 (1992). A consequence is immediate “if no intervening act breaks the

11   chain of causation leading from the asserted wrongful act to its impact in the United States.”

12   Terenkian, 694 F.3d at 1133 (citing Lyons v. Augusta S.P.A., 252 F.3d 1078, 1083 (9th Cir. 2001)

13   and Guirlando v. T.C. Ziraat Bankasi A.S., 602 F.3d 69, 75 (2d Cir. 2010) (“[T]he requisite

14   immediacy is lacking where the alleged effect depends crucially on variables independent of the

15   conduct of the foreign state.”)) (internal quotations omitted).

16           Moreover, “[s]atisfying the requirement that an effect be ‘immediate’ and therefore

17   ‘direct’ is not sufficient by itself to satisfy the ‘direct effect’ prong of the commercial activity

18   exception, however, because the effect must also be more than ‘purely trivial’ or ‘remote and

19   attenuated.’” Terenkian, 694 F.3d at 1134 (citing Weltover, 504 U.S. at 618). This means that,

20   to prove a direct effect, plaintiffs must show that “something legally significant actually

21   happened in the United States” as a direct result of Irico Display’s actions. Id.; Gregorian v.

22   Izvetsia, 871 F.2d 1515, 1527 (9th Cir. 1989). These “legally significant” actions alleged to have

23   directly injured plaintiffs must be actions of the specific defendant at issue, as actions by

24   independent or even related entities will not suffice. See California v. NRG Energy, Inc., 391

25   F.3d 1011, 1024 (9th Cir. 2004) (finding no “direct effect” by a parent company and refusing to

26   impute any effects from direct sales to the U.S. by its wholly-owned subsidiary), vacated on other

27   grounds, Powerex Corp. v. Reliant Energy Servs., Inc., 551 U.S. 224 (2007). “[M]ere financial

28

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1    loss by a person—individual or corporate—in the U.S. is not, in itself, sufficient to constitute a

2    direct effect.” Adler v. Fed. Republic of Nigeria, 107 F.3d 720, 726-27 (9th Cir. 1997).

3            In their complaint, IPPs have alleged that Irico Display made sales “either directly

4    or indirectly through its subsidiaries or affiliates, to customers throughout the United States.”

5    (Dkt. 1526 at ¶ 96.) These allegations are purely speculative and are entitled to “no presumptive

6    truthfulness” in evaluating FSIA immunity. Terenkian, 694 F.3d at 1134. IPPs have presented

7    no evidence that Irico Display made any sales (whether of CRTs or finished products) to

8    customers in the United States during the Class Period. Irico Display made no such sales: Before

9    2005, Irico Display did not even have its own sales department and all sales were handled by

10   Irico Group. (Amended Wang Decl. ¶ 5.) Irico Display (and Irico Group) made no sales to the

11   United States during the Class Period, (id. at ¶ 12.), and no direct effect can be attributed to

12   Display under the commercial activity exception. Any claim of direct effect through Irico

13   Display’s sales of CRTs is even more tenuous here, where IPP’s claims are based explicitly upon

14   indirect sales through one or more layers of independent customers. Sales of televisions and

15   monitors made directly or indirectly by Irico Display’s customers, pursuing their own sales

16   strategy and setting their own prices, are just the sort of “intervening object, cause, or agency”

17   that cannot trigger the commercial activity exception. Terenkian, 694 F.3d at 1135. “[T]he

18   requirement that an effect be ‘direct’ indicates that Congress did not intend to provide jurisdiction

19   whenever the ripples caused by an overseas transaction manage eventually to reach the shores of

20   the United States.” Id. at 1134-35 (quoting United World Trade, Inc. v. Mangyshlakneft Oil

21   Prod. Ass’n, 33 F.3d 1232, 1238 (10th Cir. 1994)); see NRG Energy, 391 F.3d at 1024.

22           Nor can IPPs rely on their allegations that Irico Display participated in a conspiracy to

23   support a finding of “direct effect.” The “direct effect” prong of the commercial activity

24   exception typically only applies in cases where a foreign sovereign has entered into a contractual

25   relationship requiring performance in the U.S., or where a U.S. plaintiff was injured directly by

26   a foreign sovereign’s tortious conduct. See, e.g., Weltover, 504 U.S. at 618-19 (finding “direct

27   effect” where contract specified payment in the United States); Adler, 107 F.3d 720, 726-27

28   (same); Am. West Airlines, Inc. v. GPA Group, Ltd., 877 F.2d 793, 796-800 (9th Cir. 1989)

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1    (finding no “direct effect” where defendant’s allegedly faulty aircraft maintenance happened

2    outside the United States); Joseph v. Office of Consulate Gen. of Nigeria, 830 F.2d 1018, 1024

3    (9th Cir. 1987). Cases applying the “direct effect” test in the antitrust context are somewhat rare,

4    but those that do, including in the Ninth Circuit, have concluded that no direct effect exists unless

5    the specific defendant had direct sales of the allegedly affected product in the United States. See

6    NRG Energy, 391 F.3d at 1024 (finding no “direct effect” because a parent company’s “decisions

7    affected an intermediary,” its own subsidiary, “whose actions in turn affected the U.S.” through

8    direct power sales to California), aff’g in part In re Wholesale Electricity Antitrust Cases I & II,

9    No. 2-0990-RHW, 2002 WL 34165887, at *8 (S.D. Cal. Dec. 17, 2002) (“It appears, however,

10   that BC Hydro simply delivered energy to Powerex, and Powerex independently marketed and

11   sold the power into the California markets . . . Any ‘direct effect’ on the California markets was

12   perpetrated by Powerex.”), vacated on other grounds, Powerex Corp. v. Reliant Energy Servs.,

13   Inc., 551 U.S. 224 (2007); Filetech S.A. v. Fr. Telecom, S.A., 212 F. Supp. 2d 183 at 197

14   (S.D.N.Y. 2001) (finding no “direct effect” from allegedly anticompetitive conduct where

15   defendant, an instrumentality of France, had not “intended or contemplated a specific effect in

16   the United States,” did not have “substantial sales of marketing lists in the United States,” and

17   “failed to arrange for or complete a single U.S. sale” of certain other products).

18             Cases outside the antitrust context confirm that a “direct effect” cannot be established

19   without direct sales. See Terenkian, 694 F.3d at 1138 (finding no “direct effect” due to breach

20   of contract to deliver oil despite fact that “some of the oil intended for purchase was meant for

21   the U.S. market”); In re N. Sea Brent Crude Oil Futures Litig., No. 1:13-MD-02475 (ALC), 2016

22   WL 1271063, at *12 (S.D.N.Y. Mar. 29, 2016) (finding no “direct effect” where plaintiffs

23   “present[ed] evidence of a correlation between physical Brent crude oil prices and futures prices,”

24   where “any effect the physical transactions ha[d] on the United States markets [wa]s mitigated

25   by the actions of third parties”).

26             Jurisprudence on the application of personal jurisdiction to alleged participants in a

27   conspiracy is also instructive on this point. 8 The Ninth Circuit has held that “the requirement of

28   8
         In its February 1, 2018 Order granting Irico’s motion to set aside the default, the Court turned to cases
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1    a ‘direct effect’ incorporates the minimum contacts standards of International Shoe v.

2    Washington” and therefore “must comport with the traditional notions of fair play and substantial

3    justice which determine the due process limits of personal jurisdiction.” Derderian, 872 F.2d at

4    286-87; see also Corzo v. Banco Cent. de Reserva del Peru, 243 F.3d 519, 525-26 (9th Cir. 2001)

5    (citing Security Pacific for the necessity of “minimum contacts” with the United States to

6    establish a direct effect under the FSIA); Theo. H. Davies & Co. v. Republic of Marshall Islands,

7    174 F.3d 969, 974 (9th Cir. 1998) (“Section 1330(b) [of the FSIA] provides, in effect, a Federal

8    long-arm statute over foreign states . . . . This long-arm statute, however, is constrained by the

9    minimum contacts required by International Shoe Co. v. Washington and its progeny.”) (internal

10   citation omitted); Rote v. Zel Custom Mfg. LLC, 816 F.3d 383, 395 (6th Cir. 2016) (observing

11   “that the Ninth Circuit has adopted . . . ‘minimum contacts’ analysis to conclude that [an] activity

12   had no ‘direct effect.’”).

13           In the personal jurisdiction context, courts in the Ninth Circuit have found that acts or

14   contacts of alleged co-conspirators cannot be imputed to a different defendant for purposes of

15   establishing jurisdiction over that defendant. As held in Kipperman v. McCone:

16           Contrary to plaintiff's assertion that personal jurisdiction over alleged co-
             conspirators may be acquired vicariously through the forum-related conduct
17
             of any single conspirator, the Court believes that personal jurisdiction over
18           any non-resident individual must be premised upon forum-related acts
             personally committed by the individual. Imputed conduct is a connection
19           too tenuous to warrant the exercise of personal jurisdiction.

20   422 F. Supp. 860, 873 n.14 (N.D. Cal. 1976) (emphases added). The Ninth Circuit likewise has
21   noted that a “conspiracy theory” of jurisdiction is unwarranted, observing that “[t]here is a great
22   deal of doubt surrounding [its] legitimacy,” Chirila v. Conforte, 47 Fed. App’x 838, 842 (9th Cir.
23
     under the Foreign Trade Antitrust Improvements Act (“FTAIA”) for assistance in interpreting the
24   “direct effects” requirement. Irico submits that personal jurisdiction principles provide a more apt
     analogy because, as described below, the Ninth Circuit has explicitly incorporated “minimum contacts”
25   principles in its FSIA jurisprudence. In addition, unlike the FTAIA, sovereign immunity and personal
     jurisdiction each address the court’s jurisdiction over a particular defendant. The FSIA and FTAIA also
26   have notably different purposes. See Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 174 (2009) (noting
     that courts “must be careful not to apply rules applicable under one statute to a different statute without
27   careful and critical examination”); Lotes Co., Ltd. v. Hon Hai Precision Indus. Co., 753 F.3d 395, 410-
     11 (2d Cir. 2014) (“Here, both the purpose and language of the FSIA and FTAIA differ in critical
28   respects.”).

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1    2002) (citing Kipperman and other cases), and has squarely rejected the imputing of contacts

2    from co-conspirators in the venue context. Piedmont Label Co. v. Sun Garden Packing Co., 598

3    F.2d 491, 492 (9th Cir. 1979). Extending the reach of the “direct effects” exception beyond that

4    recognized in this Circuit as appropriate for personal jurisdiction would frustrate “Congress’

5    intent that it be difficult for private litigants to bring foreign governments into court, thereby

6    affronting them.” Murphy v. Korea Asset Mgmt. Corp., 421 F. Supp. 2d 627, 640 (S.D.N.Y.

7    2005) (internal quotations omitted).

8            Given the absence of sales to the U.S. by Irico Display and the lack of any evidence that

9    Display otherwise meets the strictly-construed requirements of the commercial activities

10   exception, there is no basis for concluding that jurisdiction under the FSIA exists with respect to

11   Irico Display.

12   IV.     CONCLUSION

13           Based on the foregoing, Irico Display requests that the Court enter an order:

14   (a) dismissing the IPP Complaint against Irico Display with prejudice; and (b) granting such

15   further relief as may be just and equitable.

16

17   Dated: March 19, 2019                                    /s/ Stuart C. Plunkett
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